Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 1 of 7



                                 UNITED STATES DISTRICT COURT
                               THE SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 2:17-CV-14302-ROSENBERG/MAYNARD


  DENNIS MCWILLIAMS,
  LORI MCWILLIAMS,

            Plaintiffs,

  v.

  NOVARTIS AG, a global healthcare company,
  NOVARTIS PHARMACEUTICALS CORPORATION,
  a Delaware corporation,

         Defendants.
   __________________________________________________/

                  ORDER GRANTING IN PART AND DENYING
                 IN PART PLAINTIFF’S MOTION FOR PARTIAL
       RECONSIDERATION OF THE COURT’S ORDER ON SUMMARY JUDGMENT

            This Cause is before the Court on Plaintiffs’ Motion for Partial Reconsideration of the

  Court’s Order on Summary Judgment. DE 100. Defendant Novartis Pharmaceuticals Corporation

  responded, DE 105, and Plaintiffs replied, DE 107. The Court has considered all of the filings.

  For the reasons set forth below, the Motion is granted in part and denied in part. It is granted in

  that the Court considers Plaintiffs’ argument that the New Jersey exception on the prohibition of

  punitive damages is applicable in this case, an argument the Court did not consider in its Order

  granting in part and denying in part Defendant’s Motion for Summary Judgment, DE 92. But it is

  denied in that the Court concludes that the New Jersey exception is preempted. Accordingly,

  Plaintiffs cannot seek punitive damages.

       I.       LEGAL STANDARD

       “[R]econsideration of a previous order is an extraordinary remedy to be employed

  sparingly.” Burger King Corp. v. Ashland Equities, Inc., 181 F. Supp. 2d 1366, 1370 (S.D. Fla.
Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 2 of 7



  2002) (citing Mannings v. Sch. Bd. of Hillsborough Cnty., 149 F.R.D. 235, 235 (M.D. Fla.

  1993)). “The ‘purpose of a motion for reconsideration is to correct manifest errors of law or fact

  or to present newly discovered evidence.’” Id. at 1369 (quoting Z.K. Marine Inc. v. M/V

  Archigetis, 808 F. Supp. 1561, 1563 (S.D. Fla. 1992)). Only three major grounds generally

  justify reconsideration: “(1) an intervening change in the controlling law; (2) the availability of

  new evidence; and (3) the need to correct clear error or prevent manifest injustice.” Id. (citing

  Offices Togolais Des Phosphates v. Mulberry Phosphates, Inc., 62 F. Supp. 2d 1316, 1331 (M.D.

  Fla. 1999)). On the other hand, “[a] ‘motion for reconsideration should not be used as a vehicle

  to . . . reiterate arguments previously made.’” Id. (citing Z.K. Marine Inc., 808 F. Supp. at 1563).


     II.      BACKGROUND

           This case arises from a stroke that Plaintiff Denis McWilliams suffered while he was

  taking Defendant’s drug, Tasigna, for his chronic myeloid leukemia. Mr. McWilliams alleges

  that his stroke was caused by Defendant’s drug and that Defendant did not properly warn about

  the risks associated with its drug. Mr. McWilliams and his wife, Plaintiff Lori McWilliams,

  brought a three-count Amended Complaint alleging: (1) strict product liability under a failure to

  warn theory; (2) negligence under a failure to warn theory; and (3) loss of consortium for Mrs.

  McWilliams. DE 19. Defendant filed a Motion for Summary Judgment, DE 61, which the Court

  granted in part and denied in part, DE 92.


           At issue in the instant Motion for Reconsideration is part of the Court’s ruling on

  summary judgment with respect to punitive damages. In its Order on Defendant’s Motion for

  Summary Judgment, the Court concluded that New Jersey, not Florida, law applied to the issue

  of whether Plaintiffs are entitled to punitive damages. DE 92 at 15–18. The Court noted that

  generally New Jersey law “prohibits an award of punitive damages in products liability actions

                                                   2
Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 3 of 7



  where the drug that caused the harm was subject to preapproval by the FDA.” Id. at 15. The

  Court stated that “[t]here is one statutory exception to this prohibition on punitive damages

  ‘where the product manufacturer knowingly withheld or misrepresented information required to

  be submitted under the agency's regulations, which information was material and relevant to the

  harm in question.’ N.J. Stat. Ann. § 2A:58C-5. Courts, however, have found this exception to be

  preempted under Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001). See

  McDarby v. Merck & Co., Inc., 949 A.2d 223, 276 (N.J. Super. Ct. App. Div. 2008). Plaintiffs do

  not argue that this exception applies. Thus, the Court does not need to analyze whether the

  exception is preempted under Buckman.” Id. at n.3.


         In their Motion for Reconsideration, Plaintiffs state that they “did argue that the

  exception to New Jersey’s prohibition on punitive damages applies and that such damages are

  not preempted.” DE 100 at 1 (emphasis in original). Plaintiffs point to a footnote in their

  opposition to Novartis’s Motion for Summary Judgment in which they state:

         For reasons already briefed (Doc. No. 28), even if New Jersey law applies,
         Plaintiffs have still created a triable issue of fact on punitive damages. Under New
         Jersey law, punitive damages are available “where the product manufacturer
         knowingly withheld or misrepresented [material and relevant] information
         required to be submitted under the agency’s regulation.” N.J.S.A. § 2A:58C-5c.
         Here, Plaintiffs have shown that Novartis both withheld material information
         related to atherosclerosis-related conditions associated with Tasigna, and further
         made material misrepresentations to the FDA about such information,
         intentionally misrepresenting to the FDA, among other things, the state of the
         medical literature on the association and Novartis’s own internal analyses
         regarding the association. This is sufficient to create a triable issue of fact.
         Further, punitive damages under New Jersey law are not preempted. Forman v.
         Novartis Pharms. Corp., 793 F. Supp. 2d 598, 607 (E.D.N.Y. 2011); Chiles v.
         Novartis Pharms. Corp., No. 3:06-cv-96-J-25 JBT (M.D. Fla. Feb. 25, 2013)
         (Order, Doc. No. 214).

  The Court recognizes that it did not consider Plaintiff’s argument that the exception to New

  Jersey’s prohibition on punitive damages applies and is not preempted. Accordingly, it grants


                                                  3
Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 4 of 7



  Plaintiff’s motion for partial reconsideration in that it will consider now whether the exception

  applies.

     III.      ANALYSIS

            N.J. Stat. Ann. § 2A:58C-5c prohibits an award of punitive damages in products liability

  actions where the drug that caused the harm was subject to preapproval by the FDA except

  “where the product manufacturer knowingly withheld or misrepresented information required to

  be submitted under the agency's regulations, which information was material and relevant to the

  harm in question.” There is a split of authority about whether the exception to the prohibition on

  punitive damages is preempted by the Supreme Court’s decision in Buckman Co. v. Plaintiffs’

  Legal Comm., 531 U.S. 341 (2001). Plaintiffs argue that the exception is not preempted under

  Buckman and that there is a triable issue of fact as to whether Defendant knowingly withheld or

  misrepresented material information required to be submitted to the FDA. Defendant argues that

  the exception is preempted under Buckman.

            In Buckman, the plaintiffs brought claims against the manufacturer of orthopedic bone

  screws alleging that the manufacturer had “made fraudulent representations to the [FDA] in the

  course of obtaining approval to market the screws.” 531 U.S. at 344. Plaintiffs claimed that these

  misrepresentations were the “but for” cause of their injuries. Id. The Supreme Court found that

  plaintiffs’ “fraud-on-the-FDA” claims were impliedly preempted by the federal Food, Drug, and

  Cosmetic Act. Id. In reaching this conclusion, the Court found that “in contrast to situations

  implicating federalism concerns and the historic primacy of state regulation of matters of health

  and safety, [] no presumption against pre-emption obtains” in fraud-on-the-FDA claims. Id. at

  348 (citations omitted). The Court noted the inherently federal nature between a federal agency

  and the entity it regulates and “that the federal statutory scheme amply empowers the FDA to


                                                   4
Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 5 of 7



  punish and deter fraud against the Administration, and that this authority is used by the

  Administration to achieve a somewhat delicate balance of statutory objectives.” Id. The Court

  further explained that:

          State-law fraud-on-the-FDA claims inevitably conflict with the FDA's
          responsibility to police fraud consistently with the Administration's judgment and
          objectives. As a practical matter, complying with the FDA's detailed regulatory
          regime in the shadow of 50 States’ tort regimes will dramatically increase the
          burdens facing potential applicants-burdens not contemplated by Congress in
          enacting the FDCA and the MDA.

  Id. at 350.

          A few courts to have considered the issue have found that the exception is not preempted.

  See Order, Chiles v. Novartis Pharm. Corp., No. 3:06-cv-00096-HLA-JBT, (M.D. Fla. Feb. 25,

  2013), ECF No. 214; Forman v. Novartis Pharm. Corp., 793 F. Supp. 2d 598 (E.D.N.Y. 2011).

  For example, in Forman, the Court, relying on the binding Second Circuit precedent of Desiano

  v. Warner-Lambert & Co., 467 F.3d 85 (2d Cir. 2008) found that the New Jersey exception was

  not preempted. In Desiano, the Second Circuit interpreted a Michigan statute under Buckman.

  The statute immunized manufacturers of drugs that were approved by the FDA from all products

  liability actions unless the manufacturer withheld from or misrepresented material information

  from the FDA. Id. at 87–88. The Court held that Buckman did not preempt the statute stating

  that:

          Because of its important role in state regulation of matters of health and safety,
          common law liability cannot be easily displaced in our federal system. Buckman
          underscored this fact, finding implied preemption of a newly-fashioned state
          cause of action only where (1) no presumption against federal preemption
          obtained, and (2) the cause of action, by assigning liability solely on the basis of
          fraud against the FDA, imposed significant and distinctive burdens on the FDA
          and the entities it regulates.

  Id. at 98 (emphasis in original). Desiano was summarily affirmed by an equally divided Supreme

  Court. Warner-Lambert Co., LLC v. Kent, 552 U.S. 440 (2008). Relying on Desiano, the Forman

                                                   5
Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 6 of 7



  Court found that the New Jersey exception was not preempted because “(1) it is properly

  classified under Desiano as a permitted state common-law tort claim premised on the obligations

  between a manufacturer and a consumer that require a prerequisite showing of fraud-on-the-FDA

  and (2) the presumption against preemption is equally applicable to claims for compensatory

  damages and punitive damages claims premised on state common-law torts.” 793 F. Supp. 2d at

  606. The Court noted that “to the extent the Plaintiff is seeking punitive damages based solely on

  NPC's alleged misrepresentations to the FDA, this is not permissible. However, the Plaintiff in

  the instant case is also seeking punitive damages that stem from NPC's misrepresentations to

  decedent Napolitano and the medical community.” Id.

         On the other hand, the majority of courts to have considered the issue have found that

  Buckman preempts the exception found in N.J. Stat. Ann. § 2A:58C-5c. See, e.g., Guenther v.

  Novartis Pharm. Corp., 8:06-cv-1787-24-TBM, 2014 WL 2722483, at *3–4 (M.D. Fla. June 16,

  2014); Dopson-Troutt v. Novartis Pharm. Corp., No. 8:06-cv-1708-T-24-EAJ, 2013 WL

  3808205, at *4–5 (M.D. Fla. July 22, 2013).; Zimmerman v. Novartis Pharm. Corp., 889 F.

  Supp. 2d 757 (D. Md. 2012); McDarby v. Merck & Co., Inc., 949 A.2d 223 (N.J. Super. App.

  Div. 2008). In Zimmerman, for example, the District Court found that the New Jersey exception

  was preempted because the “FDCA empowers the federal government, through the FDA, to

  regulate the safety and efficacy of pharmaceutical drugs via an extensive drug approval process”

  and that the New Jersey exception did “not enjoy a presumption of validity” “[b]ecause New

  Jersey’s statutory immunity provision attempts to legislate in an area of significant federal

  concern.” Zimmerman, 889 F. Supp. 2d at 768–71. The Zimmerman Court also noted that

  “[a]lthough the form of Plaintiff’s claims differs from that of her counterparts in Buckman, both

  claims are identical in substance because they present the same conflict with the FDCA



                                                  6
Case 2:17-cv-14302-RLR Document 111 Entered on FLSD Docket 07/31/2018 Page 7 of 7



  regulatory scheme and the FDA’s enforcement prerogatives.” Id. at 773–77. Accordingly, the

  Zimmerman Court found the New Jersey exception to be preempted.

           The Court agrees with these cases that have held that the New Jersey exception is

  preempted by Buckman. The Court in Zimmerman put it succinctly:

           Plaintiff’s claim for punitive damages requires a state fact finder to determine
           what was required to be submitted to the FDA, whether it was submitted to the
           FDA and, whether the FDA would have made a different approval decision had it
           been provided with the correct or missing information. Plaintiff's claim thus
           requires a fact finder to make these types of determinations as a matter of state
           law even though federal law makes such determinations the exclusive province of
           the FDA. Accordingly, Plaintiff's claim for punitive damages poses an obstacle to
           the objectives and purpose of the FDCA, and is therefore preempted by the
           FDCA.

  889 F. Supp. 2d at 776. Like the Court in Zimmerman, this Court finds the claims at issue here

  and those at issue in Buckman to be substantively the same. See id. Accordingly, the New Jersey

  exception is preempted under Buckman and Plaintiffs cannot seek punitive damages.


     IV.      CONCLUSION
           For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that that

  Plaintiffs’ Motion for Partial Reconsideration of the Court’s Order on Summary Judgment [DE

  100] is GRANTED IN PART AND DENIED IN PART. Plaintiffs’ cannot seek punitive

  damages.


     DONE AND ORDERED in Chambers in West Palm Beach, Florida this 31st day of July,

  2018.



                                               _______________________________________

                                               ROBIN L. ROSENBERG
                                               UNITED STATES DISTRICT JUDGE



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